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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


NATIONAL TRUST FOR HISTORIC                 )
PRESERVATION IN THE UNITED STATES,          )
et al.                                      )
                                            )
      Plaintiffs,                           )
                                            )
             v.                             )   Civ. No. 17-cv-01574-RCL
                                            )
TODD T. SEMONITE, Lieutenant General,       )
U.S. Army Corps of Engineers, et al.,       )
                                            )
      Defendants                            )
                                            )
and                                         )
                                            )
VIRGINIA ELECTRIC & POWER COMPANY           )
                                            )
      Defendant-Intervenor.                 )
                                            )


              PLAINTIFFS’ RESPONSE TO OCTOBER 18, 2019, ORDER
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        This Court’s October 18, 2019, Order (Dkt. 121) posed the following question: “If

this Court should decide to vacate the permit, do plaintiffs expect to initiate further

proceedings (prior to completion of the Environmental Impact Study) before an agency,

administrative law judge, this Court, or any other judicial body requesting removal of the

Surry-Skiffes Creek-Whealton project?”

        Plaintiffs the National Trust For Historic Preservation in the United States

(“National Trust”) and the Association For The Preservation Of Virginia Antiquities

(“Preservation Virginia”) answer as follows:

        No. The National Trust and Preservation Virginia do not expect to initiate further

proceedings prior to completion of the Environmental Impact Statement (“EIS”) process.

Based on the representations of the United States Army Corps of Engineers, Plaintiffs

understand that the EIS process is expected to run through April, 2020. See Federal

Defendants' Motion for Remand Without Vacatur (Dkt. 108) at 11.

        To avoid any potential ambiguity, the National Trust and Preservation Virginia

also offer two additional clarifications:

        First, Plaintiffs do expect to advocate for alternatives to the Surry-Skiffes Creek-

Whealton project as part of their participation in the previously-initiated agency proceedings

pursuant to which the EIS is currently being prepared.

        Second, Plaintiffs reserve the right to initiate further proceedings to resolve the long-

term fate of the Surry-Skiffes Creek-Whealton project if, at some point in the future, the EIS

process is abandoned, suspended, or significantly and unreasonably delayed.

        Plaintiffs would welcome the opportunity to address any additional questions this

Court may have.




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                            Respectfully Submitted,

                                /s/ Matthew G. Adams                .

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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of October, 2019, I caused service of the

foregoing Response to October 18, 2019, Order to be made by filing it with the Clerk of

the Court via the CM/ECF system, which sends a notice of electronic filing to all parties

with an email address of record who have appeared and consented to electronic service.

To the best of my knowledge, all parties to this action receive such notice.

                                                  /s/ Matthew G. Adams                    .

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